
987 A.2d 1212 (2010)
412 Md. 472
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
ISAIAH DIXON, III, Respondent.
Misc. Docket AG No. 12, September Term, 2009.
Court of Appeals of Maryland.
February 1, 2010.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Isaiah Dixon, III, to disbar the Respondent, by consent, from the practice of law.
The Court, having considered the Petition, it is this 1st day of February, 2010,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Isaiah Dixon, III, be, and he is hereby, disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that judgment is hereby entered against the Respondent and in favor of the Petitioner in the amount of $460.85; and it is further
ORDERED, that the Clerk of this Court shall remove the name of Isaiah Dixon, III from the register of attorneys in this Court, and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
